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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Greenbelt Division


IN RE:
NAHID AHMADPOUR                    *                Case No: 18-11248 WIL
                                   *                Chapter 7
       Debtor.                     *
                                   *
NATIONWIDE REGISTRY &              *
SECURITY, LTD.                     *
C/O O’CONNOR & VAUGHN LLC          *
11490 COMMERCE PARK DR., STE 510 *
RESTON, VA 20191                   *
       Movant,                     *
v.                                 *
NAHID AHMADPOUR                    *
       Debtor                      *
                                   *
Laura J. Margulies, Trustee        *
       Respondents.                *
__________________________________ *


            ANSWER TO THE AMENDED MOTION FOR RELIEF FROM STAY

       COMES NOW Laura J. Margulies, Trustee, and hereby submits this Answer to the

Amended Motion for Relief from Stay (the "Amended Motion") filed by Nationwide Registry &

Security, Ltd. (“Movant”), and respectfully represents as follows:

       1.      The Trustee does not oppose Movant’s request for relief.

       WHEREFORE, the Respondent respectfully requests that this Court grant the Movant’s

Amended Motion to Lift the Stay; and grant such other and further relief as the cause may

require.
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Dated: February 20, 2018                           Respectfully submitted,


                                                   /s/Laura J. Margulies
                                                   Laura J. Margulies, (#06585)
                                                   6205 Executive Blvd.
                                                   Rockville, Maryland 20852
                                                   (301) 816-1600
                                                   trustee@law-margulies.com

                                CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on February 20, 2018, a copy of the foregoing Answer To The
Amended Motion For Relief From Stay was served electronically via CM/ECF to:

Robert L. Vaughn, Jr., Esq.
rvaughn@oconnorandvaughn.com
Attorney for Movant

Synchrony Bank
c/o PRA Receivables Management
claims@recoverycrop.com

Kevin D. Judd, Esq.
bkadmin@juddlawfirm.com
Attorney for Debtor

       And on February 20, 2018, was served by first class mail, postage prepaid to:

Nahid Ahmadpour
14316 Kings Crossing Blvd
Boyds, MD 20841

Fitzgerald Lewis, Esq.
6066 Leesburg Pike, 4TH Floor
Falls Church, VA 22041
Co-counsel for Movant

                                                           /s/Laura J. Margulies
                                                           Laura J. Margulies
